(`ase 6:17-cV-00278-.]A-KRS Document 45 Filed 10/24/17 Page 1 of 1 PagelD 832

UN|TED STATES DlSTR|CT COURT

MlDDLE DlsTRlcT oF FLoRiDA
ORLANDo DivisioN

ABDULLAH RABBAT,
Plaintiff,
v. Case No: 6:17-cv-278-Or|-28KRS

COV|NGTON SPEC|ALTY |NSURANCE
COMPANY,

Defendantr'Third-Party
Plaintiff,

V.

ORANGE COUNTY SHER|FF’S
OFF|CE,

Third-Party Defendant.

 

ORDER
ln light of the filing of the Amended Third-Party Complaint (Doc. 44), it is ORDERED
that the Motion to Dismiss (Doc. 41) directed at the original Third-Party Complaint (Doc.

35) is DEN|ED as moot.

DONE and ORDERED in Orlando, F|orida) en Ocldlper l 2 2017. \

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y /2,\}_
JOHN ANTOoN n
/ united states District Judge

Copies furnished to:
Counsel of Record

 

 

 

